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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  GERALD COLE,                                         )
                                                       )
                 PLAINTIFF,                            ) CAUSE NO. 1:16-cv-03081-WTL-MJD
                                                       )
                 v.                                    )
                                                       )
  JAMES PERRY and,                                     )
  THE CITY OF INDIANAPOLIS,                            )
                                                       )
                 DEFENDANTS.                           )


                 PLAINTIFF’S DESIGNATION OF DEPOSITION PORTIONS

         Plaintiff, pursuant to the Case Management Plan, submits the following designation of

  deposition testimony he intends to present to the jury:

  Deposition of Defendant James Perry

  Page Lines

  4      9-10
  78     2-7
  79     1-25
  87     11-13, 20-25
  88     1-11, 22-25
  89     1-25
  90     1-19

  Deposition of Attorney Leo Blackwell,
  Defendant James Perry’s Agent

  Page Lines

  4      7-23
  6      7-12
  8      3-10
  9      12-20, 25
  10     1-9, 24-25
  11     1-13
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  Deposition of Dr. Jesse Savage

  Page         Line                         Page       Line
                                            71         3-21
  3            1-4, 19-25                   72         12-19
  4            1-6                          73         9-25
  5            1-9                          74         1-2
  7            1-3, 22-25                   75         22-25
  8            1-7                          76         1-19
  11           2-25                         80         7-23
  12           1-15                         81         3-9, 17-22
  13           1-25                         83         18-23
  14           1-25
  15           5-25
  16           1-4
  17           20-25
  18           1-9
  26           5-25
  27           1-16
  46           9-25
  47           1-25
  48           1-25
  49           1-25
  50           1-25
  51           1-25
  52           1-25
  53           1-25
  54           1-25
  55           1-25
  56           1-2, 21-25
  57           1-25
  58           1-25
  59           1-25
  60           1-25
  61           1-25
  62           1-5
  65           18-25
  66           1-19, 23-25
  67           1-9, 20-25
  68           1-25
  69           1-19


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  Deposition of Dr. Hristos Kaimakliotis

  Page         Line

  4            7-10
  8            13-17, 21-23
  9            24-25
  10           1-24
  11           19-25
  12           1-12, 18-25
  13           1-19
  14           18-25
  15           1-25
  16           1-25
  17           1-3, 11-25
  18           1-25
  19           1-25
  20           1-25
  21           1-25
  22           1-25
  23           1-25
  24           1-9
  25           3-25
  26           1-25
  27           1-4
  28           18-25
  29           1-25
  30           1-25
  31           1-25
  32           1-6
  33           6-25
  34           12-13




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  Dr. Michael Guzman

         Deposition Not Completed as yet


  Dr. Robert Sandy

         Deposition Not Completed as yet




                                               Respectfully submitted,

  Dated: April 29, 2019
                                               /s/ Richard A. Waples
                                               Richard A. Waples
                                               Attorney for Plaintiff
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                                   CERTIFICATE OF SERVICE

         The undersigned certifies that on April 29, 2019, a copy of this document was filed

  electronically. Notice of this filing will be sent to counsel of record by operation of the Court’s

  electronic filing system. Parties may access this filing through the Court’s system:

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